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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                              OAKLAND DIVISION


 EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                         RESPONSE TO APPLE’S OBJECTIONS
                  Defendant, Counterclaimant.        TO SPECIAL MASTER RULINGS ON
                                                     APPLE INC.’S PRODUCTIONS OF RE-
                                                     REVIEWED PRIVILEGED
                                                     DOCUMENTS


The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following short responses to
Apple’s Objections to the Special Masters’ rulings (“Objections”), filed on February 10, 2025.
(Dkt. 1189.) Epic does not have access to the underlying documents and is therefore unable to
fully assess the bases on which Apple claims privilege; Epic responds to Apple’s Objections on
the limited information provided in Apple’s privilege logs for the documents and their families.
●    Entry Nos. 9349 (PRIV-APL-EG_00242871), 9350 (PRIV-APL-EG_00242877), 9376
     (PRIV-APL-EG_00243126), 9377 (PRIV-APL-EG_00243132), 9380 (PRIV-APL-
     EG_00243145), 9381 (PRIV-APL-EG_00243151), 9485 (PRIV-APL-EG_00244062) and
     9486 (PRIV-APL-EG_00244070)—Apple claims these Entries are all clean draft addenda
     to Apple’s Developer Program License Agreement for the link entitlement program. Apple
     further claims in its Objection that these drafts “reflect” legal advice because “the drafts
     were authored and revised by attorneys”. (Dkt. 1189 at 2.) First, Apple’s privilege log
     does not suggest these documents were drafted by an attorney. Apple may not now assert
     privilege based on factual matters that were not initially included on its privilege log, nor
     provided to the Special Masters. Second, Apple does not identify the attorney who
     supposedly drafted the documents, when they were drafted by that attorney, or how many
     rounds of revisions by lawyers and non-lawyers alike these particular iterations of the
     documents incorporate. This is meaningful because, although these documents surely
     “reflect” both legal and business advice, it is unlikely that clean drafts actually disclose any
     such advice. Instead, this seems like another instance where even “[i]f Epic compared
     every version of the draft . . . to the final version, Epic would not be able to determine
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    whether any legal advice was given, let alone what it might have been”. (Dkt. 1039 at 2.)
    It is for that reason that this Court has previously overruled Apple’s assertions over similar
    documents, even when the parent was sent by counsel and held to be privileged.
    (Dkt. 1157 at 2-3 (overruling Apple’s objections as to Entry Nos. 2995, 3006, 3380, 3399,
    3405, 3016, 3103, 3318, 3358, 3360, 3334).) Apple’s objections here should be overruled
    for the same reasons.
●   Entry No. 727 (PRIV-APL-EG_00072541)—Apple claims in its Objections and in a
    declaration it filed in support thereof that this document was drafted by Mr. Kleinbrodt,
    who at the time was an associate at Gibson Dunn (Dkt. 1189 at 3; Dkt. 1189-1); that it
    reflects Mr. Kleinbrodt’s “legal judgment and mental impressions” (Dkt. 1189-1 at 1); and
    that it was drafted “to offer legal advice and analysis to Apple regarding the implications of
    and conclusions in the Court’s ruling” as to the Court’s Rule 52 order after trial (Dkt. 1189
    at 3). But Apple’s privilege log presents none of that information; it does not even mention
    Mr. Kleinbrodt or Gibson Dunn, and instead claims the document reflects legal advice
    from Kate Adams, Apple’s General Counsel. Apple should not be allowed to object to a
    Special Master’s ruling on the basis of a privilege assertion predicated on factual assertions
    that are different from, and inconsistent with, the factual predicates of the assertion it
    presented to the Special Master. (Dkt. 1139 at 4 (the Protocol is “incompatible with Apple
    making a new and different privilege assertion” in its Objections).)
●   Entry No. 738 (PRIV-APL-EG_00072619)—Apple explains that this document is a chart
    summarizing various regulatory requirements in the United States and internationally and
    that it forwarded by Sean Cameron, in-house counsel, to a non-lawyer, as well as to
    in-house and outside counsel. (Dkt. 1189 at 4.) Apple’s Objection does not explain
    whether the document itself discloses or constitutes legal advice, and if so, who provided
    that legal advice and to whom. Apple’s privilege log is even less informative; it baldly
    asserts the document itself is “providing” legal advice, but then states the basis for that
    assertion is that the document is forwarded by Mr. Cameron, “presumably for the purpose
    of providing legal advice”. Because communications with in-house counsel can serve
    business purposes, those communications are not inherently protected by privilege unless
    they indeed disclose legal advice, so that presumption is not a proper basis for an assertion
    of privilege. See Dolby Lab’ys Licensing Corp. v. Adobe, Inc., 402 F. Supp. 3d 855, 866
    (N.D. Cal. 2019) (“[T]here is no presumption that communications with in-house counsel
    are protected by attorney-client privilege.”) (quoting United States v. ChevronTexaco
    Corp., 241 F. Supp. 2d 1065, 1076-77 (N.D. Cal. 2002)).




DATED: February 12, 2025                          CRAVATH, SWAINE & MOORE LLP
                                                  By: /s/ Yonatan Even
                                                  Counsel for Plaintiff Epic Games, Inc.
